Exhibit F
                 RALEIGH WAKE CITIZENS ASSOCIATION, ET AL. vs. BAREFOOT, ET AL.
                                     Hearing· ·on 08/02/2016                                    ·

            ·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
            · · · · ·FOR THE EASTERN DISTRICT OF NORTH CAROLINA
            ·2· · · · · · · · · · WESTERN DIVISION

            ·3· RALEIGH WAKE CITIZENS
            · · ASSOCIATION, et al.,
            ·4
            · · · · · · ·Plaintiffs,
            ·5
            · · vs.· · · · · · · · · · · · · · · ·No. 5:15-CV-156-D
            ·6
            · · BAREFOOT, et al.,
            ·7
            · · · · · · ·Defendant.
            ·8· ___________________________/

            ·9· CALLA WRIGHT, et al.

            10· · · · · ·Plaintiffs,

            11· vs.· · · · · · · · · · · · · · · ·No. 5:15-CV-607-D

            12· STATE OF NORTH CAROLINA,
            · · et al.,
            13
            · · · · · · ·Defendant.
            14· ___________________________/

            15

            16· · · · · · PROCEEDINGS BEFORE THE HONORABLE
            · · · · · · · · · · ·JAMES C. DEVER, III
            17· · · · CHIEF UNITED STATES DISTRICT COURT JUDGE

            18
            · · · · · · · · · ·Tuesday, August 2, 2016
            19· · · · · · · · · 4:00 p.m. - 5:10 p.m.

            20· · · · · · · United States District Court
            · · · · ·For the Eastern District of North Carolina
            21· · · · · · · · · ·310 New Bern Avenue
            · · · · · · · · Seventh Floor, Courtroom One
            22· · · · · · · · ·Raleigh, North Carolina

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            · · · · · · · ·Stenographically Reported By:
            25· · · · · · ·Denise Y. Meek, Court Reporter


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 ·1· · · · · · · · · · · ·APPEARANCES

 ·2· FOR THE PLAINTIFFS:

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 ·1· · · · · · · · · APPEARANCES CONTINUED

 ·2· FOR THE LEGISLATIVE LEADERS:

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 · · · · BART GOODSON, ESQ.
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 · · · · Office of the Speaker of the
 ·9· · · North Carolina House of Representatives

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 ·1· · · · · · · · · · · -· -                   -
 ·2· · · · THE BAILIFF:· All rise.
 ·3· · · · Court is now back in session, the Honorable
 ·4· ·Chief Judge James C. Dever, III presiding.
 ·5· · · · Please be seated and come to order.
 ·6· · · · THE COURT:· Good afternoon.· Welcome to the
 ·7· ·United States District Court For the Eastern
 ·8· ·District of North Carolina.
 ·9· · · · We're here for a status conference in the
 10· ·Raleigh Wake Citizens Association vs. Barefoot.
 11· ·It's a consolidated case.
 12· · · · The mandate, actually, has not yet issued
 13· ·from the Fourth Circuit.· It has been seven days
 14· ·under the rules.· The mandate is something that
 15· ·is necessary for this Court to have jurisdiction
 16· ·in the ordinary course.· It's my understanding
 17· ·that the mandate will issue first thing in the
 18· ·morning, but since we're all here, we should go
 19· ·ahead and discuss remedial issues in connection
 20· ·with this case while recognizing that I don't
 21· ·have jurisdiction until and unless the mandate
 22· ·issues.
 23· · · · I do thank counsel for plaintiffs and counsel
 24· ·for the defendant Wake County Board of Elections
 25· ·for the submissions they made in connection with

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 ·1· ·my order of July 8th, the submissions of July
 ·2· ·18th, and then another order on July 27th, and I
 ·3· ·received a submission this afternoon from
 ·4· ·plaintiffs.· I have had a chance to review all of
 ·5· ·those.
 ·6· · · · And the submission, Mr. Marshall, that y'all
 ·7· ·made --
 ·8· · · · Well, before we do that, I'd like to note:
 ·9· ·Who represents the Board of Elections?
 10· · · · MR. BERNIER:· Good afternoon, Your Honor.
 11· ·James Bernier from the Attorney General's Office
 12· ·here on behalf of the State Board of Elections.
 13· · · · THE COURT:· Okay.
 14· · · · MR. LAWSON:· Josh Lawson, general counsel for
 15· ·the State Board.
 16· · · · THE COURT:· Thank you.
 17· · · · And then we have counsel for the Legislative
 18· ·Leaders here?
 19· · · · MR. FARR:· Good morning, Your Honor.· Tom
 20· ·Farr and Phil Strach from Ogletree Deakins.
 21· ·We're here representing the Legislative Leaders.
 22· ·Also, Bart Goodson, who is the general counsel
 23· ·for the Speaker.· And we're hoping that one of
 24· ·the lawyers from the Senate, Brent Woodcox, will
 25· ·be here shortly.

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 ·1· · · · Thank you, Your Honor.
 ·2· · · · THE COURT:· Good to see y'all.
 ·3· · · · And, of course, I know Ms. Earls and
 ·4· ·Ms. Riggs and Mr. Marshall and Ms. Thaller-Moran.
 ·5· · · · The submission that was made by the Wake
 ·6· ·County Board of Elections sets forth a variety of
 ·7· ·deadlines that need to be met at Docket Entry 83.
 ·8· ·And then there's an affidavit or a declaration
 ·9· ·from Mr. Sims under 82-1 and a whole host of
 10· ·dates under 83-2 of the submission there.
 11· · · · Mr. Marshall, did you want to add anything to
 12· ·those dates or deadlines?
 13· · · · MR. MARSHALL:· Your Honor, I don't think so
 14· ·other than due to a Fourth Circuit ruling a few
 15· ·days ago on the Voter ID Act, my understanding is
 16· ·that may push the early voting dates back another
 17· ·seven days.
 18· · · · THE COURT:· Okay.· And is that something that
 19· ·the State Board is reviewing?· Is that your
 20· ·understanding?
 21· · · · MR. BERNIER:· Your Honor, it's my
 22· ·understanding that is correct.
 23· · · · MR. MARSHALL:· Other than that, Your Honor, I
 24· ·believe we're okay on the submissions filed.
 25· · · · THE COURT:· And those submissions work off of

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 ·1· ·the idea that whatever plan or plans to be
 ·2· ·implemented, that you needed those, your client
 ·3· ·needed those by August 10th?
 ·4· · · · MR. MARSHALL:· That's right, Your Honor.
 ·5· · · · THE COURT:· And how much if any give is there
 ·6· ·in that date?· Is that a hard date?
 ·7· · · · MR. MARSHALL:· Well, Your Honor, I think it
 ·8· ·depends on where we're backing up from, and I'll
 ·9· ·give you an example.
 10· · · · The current date to mail absentee ballots is
 11· ·September the 9th.· And in order to have the
 12· ·absentee ballots printed and ready to mail, the
 13· ·Wake County Board of Elections generally starts
 14· ·that process immediately after the deadline for a
 15· ·petition for a write-in candidate expires, which
 16· ·is August 10th.
 17· · · · So historically they have used that 30-day
 18· ·period between August 10th and September 9th to
 19· ·test and prepare the ballots and get
 20· ·certifications or approvals from the State Board
 21· ·of Board of Elections.
 22· · · · Mr. Sims is here, and if it's helpful to the
 23· ·Court at some point, I'm happy to tender him as a
 24· ·witness to answer questions.· I believe that
 25· ·there may be a little bit of give in that 30-day

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 ·1· ·period, but my understanding is they've never had
 ·2· ·to operate with less than 30 days, so I don't
 ·3· ·know that historically we have a lot of
 ·4· ·benchmarks and data points to be able to say
 ·5· ·whether they could do it in, say, 25 versus 20
 ·6· ·versus 15.
 ·7· · · · It is my understanding as well, Your Honor,
 ·8· ·and I think I mentioned this at the beginning of
 ·9· ·our submission that, and this may be a question
 10· ·for the State Board, but many of these deadlines
 11· ·are able to be modified, obviously, in response
 12· ·to a court order and sometimes at the discretion
 13· ·of the State Board.· Were any of those deadlines
 14· ·to be modified, clearly that would change the
 15· ·schedule we've presented, but unless and until
 16· ·those modifications occurred, we didn't want to
 17· ·speculate.
 18· · · · THE COURT:· So that would be modifications
 19· ·under NC Gen Stat 163-22.2?
 20· · · · MR. MARSHALL:· That's right, Your Honor.
 21· · · · So, again, tagging the August 10th date off
 22· ·of September 9th, if the September 9th deadline
 23· ·was modified, then, obviously, that may allow the
 24· ·August 10th date to be modified, and things may
 25· ·move as a block, but I thought given the current

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 ·1· ·deadlines that are in place that have not been
 ·2· ·modified, I wanted to let the Court know what the
 ·3· ·County Board's historical practice would have
 ·4· ·been.
 ·5· · · · THE COURT:· All right.· Anything else?
 ·6· · · · MR. MARSHALL:· That's it.
 ·7· · · · THE COURT:· Okay.· I will hear now from
 ·8· ·Ms. Earls on behalf of the plaintiffs.
 ·9· · · · And, again, I thank you for your submissions.
 10· ·And, obviously, the -- well, did you have any
 11· ·preliminary remarks?
 12· · · · MS. EARLS:· Yes.· Thank you very much, Your
 13· ·Honor.· We appreciate your time this afternoon
 14· ·and your attention to this matter.
 15· · · · Just to be clear, I want to make sure
 16· ·something I heard a minute ago is correct.· The
 17· ·August 10th date is the date by which the County
 18· ·Board of Elections would need to know the names
 19· ·that are going to be on the ballot and whether or
 20· ·not there would be a write-in.· So they would
 21· ·need to have a filing period that closes that
 22· ·date, and they would need to know what the
 23· ·districts are at some number of dates -- at
 24· ·least, I think five days before that date -- to
 25· ·stay -- without any other alteration of the

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 ·1· ·deadlines.· So I just wanted to make -- I wasn't
 ·2· ·sure that I heard that come out that way.
 ·3· · · · THE COURT:· Mr. Marshall, do you want to --
 ·4· · · · MR. MARSHALL:· Yes, Your Honor, and I
 ·5· ·apologize.· Most of that was in my submission
 ·6· ·about what has to happen before certain dates.
 ·7· ·But it is true that the August 10th date would
 ·8· ·require, if there are new districts, it requires
 ·9· ·a new filing period to open and close before that
 10· ·August 10th date or whatever the date is by which
 11· ·the write-in deadline occurs.
 12· · · · THE COURT:· And that date, absent either an
 13· ·order from this court or some change in that date
 14· ·under 163-22.2 would be what date?
 15· · · · MR. MARSHALL:· August the 10th.
 16· · · · THE COURT:· Okay.
 17· · · · MR. MARSHALL:· So as we sit here today, Your
 18· ·Honor, there would have to be a filing period
 19· ·that would open and close before that date, which
 20· ·would also require the County Board to have
 21· ·received new maps and then coded the new maps,
 22· ·and then have a notice of filing period and a
 23· ·filing period.
 24· · · · THE COURT:· So if you get the maps on the
 25· ·10th, do you need them before the 10th?

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 ·1· · · · MR. MARSHALL:· Well before the 10th.
 ·2· · · · And Ms. Earls made a good point.· The way to
 ·3· ·think about it is the write-in petition deadline
 ·4· ·is the deadline by which the names of all of the
 ·5· ·candidates on the ballot will be filed.· And so
 ·6· ·in order to have the names on the ballot, we have
 ·7· ·to know who the candidates are; in order to know
 ·8· ·who the candidates are, we have to know who is
 ·9· ·filed to run in the districts; in order to know
 10· ·who is filed to run in the districts, we have to
 11· ·know what the districts are; in order to know
 12· ·what the districts are, we would need the map.
 13· · · · THE COURT:· Have those dates all passed?                                  I
 14· ·mean, if it's not -- if it's some -- you said
 15· ·it's some date before August 10th.· What date
 16· ·before August 10th?
 17· · · · MR. MARSHALL:· Well, there isn't a set
 18· ·deadline by which -- well, the filing period has
 19· ·already opened and closed, obviously.
 20· · · · THE COURT:· Right.· Right.
 21· · · · MR. MARSHALL:· So you would have to -- you
 22· ·would have to open a new -- we would have the
 23· ·authority to open a new filing period, and that
 24· ·would have to occur before August 10th.· And in
 25· ·order, operationally, in order to have a filing

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 ·1· ·period, we would have to have new maps, and then
 ·2· ·Mr. Sims would have to code those maps, which is
 ·3· ·not a long process, but it's -- the order of
 ·4· ·events would be receive the new map, code the new
 ·5· ·map, open and close the filing period, and under
 ·6· ·the current deadlines that would be August 10th.
 ·7· · · · THE COURT:· So just looking at the submission
 ·8· ·at Docket Entry 83-2 on page two which is
 ·9· ·attached to Mr. Sims' declaration, just so that I
 10· ·have that understanding, this deadline for
 11· ·verified write-in candidacy petition deadline
 12· ·under 163-123 arises from that statute.
 13· · · · MR. MARSHALL:· That's right.
 14· · · · THE COURT:· Okay.· And so the State Board
 15· ·would have the authority under 163-22.2 to change
 16· ·that date.
 17· · · · MR. MARSHALL:· Yes, that's my understanding;
 18· ·they have the authority.
 19· · · · And I should have mentioned earlier, Your
 20· ·Honor, I note that some of your last order was
 21· ·questions directed towards the State Board and
 22· ·the Legislative Leaders, and I'm happy to deal
 23· ·with it at any time, but I certainly don't want
 24· ·to be speaking for them.· I might ask Mr. Lawson
 25· ·to weigh in and make sure I haven't misspoken

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 ·1· ·about their authority to change that date.
 ·2· · · · MR. LAWSON:· So under 22, just 22, not point
 ·3· ·two, subdivision K, we have the authority to push
 ·4· ·back the absentee period up until, federal law
 ·5· ·kicks in at 45 days, but it's 60 days.· So if
 ·6· ·there was a nudge in the calendar, it would be to
 ·7· ·the absentee, most likely not to the write-in.
 ·8· ·The write-in would require the 22.2 invocation,
 ·9· ·versus the absentee, which could be done under
 10· ·20, sub A.
 11· · · · THE COURT:· All right.· Ms. Earls?
 12· · · · MS. EARLS:· Thank you, Your Honor.
 13· · · · I would like to address three points.· First,
 14· ·this threshold question of what the scope of this
 15· ·Court's remedial power is in this context, which
 16· ·we've raised in our papers and I'd like to
 17· ·address; secondly, I would like to talk about who
 18· ·is appropriate at this point in time to address
 19· ·those issues; and then, thirdly, to provide you
 20· ·plaintiffs' understanding and interpretation of
 21· ·what the deadlines that are currently operating,
 22· ·what they mean in terms of this case.
 23· · · · So first on the question of what the scope of
 24· ·the Court's remedial powers are, I suggest to you
 25· ·first that we look to what the Fourth Circuit has

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 ·1· ·said in this case about what might happen on
 ·2· ·remand.· And the first time they addressed that
 ·3· ·question is when the Wright vs. North Carolina
 ·4· ·case was appealed, and the question was whether
 ·5· ·or not defendants, other than the Wake County
 ·6· ·Board of Elections, could be sued in this matter,
 ·7· ·and plaintiffs argued at that point in time that
 ·8· ·the legislature needed to be a party in the case
 ·9· ·in order to implement a remedy if plaintiffs were
 10· ·successful.· And the Fourth Circuit said -- and
 11· ·I'm just going to read from the opinion.· This is
 12· ·at pages 262 to 263:· "Plaintiffs counter that if
 13· ·the proposed defendants are not party to their
 14· ·suit, there will be no mechanism for forcing a
 15· ·constitutionally valid election should they
 16· ·succeed in enjoining the Session Law.· This
 17· ·assertion is, however, incorrect."· That's the
 18· ·Fourth Circuit; we were incorrect.· "The District
 19· ·Court could, for example, mandate that the Board
 20· ·of Elections conduct the next election according
 21· ·to the scheme in place prior to the Session Law's
 22· ·enactment until a new and valid redistricting
 23· ·plan is implemented.· State law also provides,
 24· ·for example, that the State Board of Elections
 25· ·can make reasonable interim rules with respect to

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 ·1· ·pending elections."· And then they cite the
 ·2· ·statute we've been talking about.· "Without
 ·3· ·question, then, a valid election could take place
 ·4· ·if the plaintiffs succeed on the merits and
 ·5· ·successfully enjoin the Session Law."
 ·6· · · · So if initially --
 ·7· · · · THE COURT:· But your submission says that it
 ·8· ·has to be a remedy and that the Court, at least
 ·9· ·that's the way I read it, and it's interesting,
 10· ·that you said that the Court has no authority to
 11· ·do anything other than that.
 12· · · · MS. EARLS:· Well, in these circumstances, the
 13· ·Court has no authority to do anything other than
 14· ·enjoin the statutes that have been found to be --
 15· · · · THE COURT:· I understand -- I understand the
 16· ·injunction is different than what the remedy is.
 17· ·I read, and maybe I misread your papers, and I'd
 18· ·like you to tell me, I thought you cited the
 19· ·Cleveland County case today for -- the two cases
 20· ·that I thought y'all cited for the proposition
 21· ·that this Court lacks authority to do anything
 22· ·other than implement the old plans were the
 23· ·Dillard County and the Cleveland County case.
 24· · · · MS. EARLS:· Yes, Your Honor, I believe that
 25· ·is the implication and the force of the Cleveland

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 ·1· ·County case.· And the reason is, and what makes
 ·2· ·this case so different from so many other
 ·3· ·one-person-one-vote cases and other redistricting
 ·4· ·cases is that here we have a constitutionally
 ·5· ·valid set of districts for both the County
 ·6· ·Commission and the School Board that have already
 ·7· ·been enacted and already been used.
 ·8· · · · In most cases where a one-person-one-vote
 ·9· ·claim is brought, and this is the Larios vs. Cox
 10· ·instance, the claim is being brought against a
 11· ·plan that was drawn immediately after the Census.
 12· ·So the previous plan in place in the prior decade
 13· ·is no longer constitutional under one-person-one-
 14· ·vote grounds, the new plan was not constitutional
 15· ·under one-person-one-vote grounds, so there was
 16· ·essentially no plan that was constitutional that
 17· ·could be used.
 18· · · · In those circumstances, the Court's
 19· ·obligation is to give the jurisdiction the first
 20· ·opportunity to redraw; and if they are unable to
 21· ·do so, then the Court's remedial authority to
 22· ·either appoint a special master, as many courts
 23· ·do, but their authority to implement the
 24· ·Court-ordered plan kicks in.
 25· · · · THE COURT:· See, but that's where you're then

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 ·1· ·reading Cleveland County to say that I have no
 ·2· ·authority to do anything.· Cleveland County is
 ·3· ·really a case about the authority of Cleveland
 ·4· ·County.· Right?· It was -- the ultimate holding
 ·5· ·in that case from the DC Circuit was that there
 ·6· ·was no Voting Rights Act violation.
 ·7· · · · MS. EARLS:· Right.
 ·8· · · · THE COURT:· It was a consent decree with no
 ·9· ·violation, and the County Commission lacked
 10· ·authority under state law to effectuate the
 11· ·remedy that was in the consent decree, but you
 12· ·read that as a limit on the power and discretion
 13· ·of the United States District Court.
 14· · · · MS. EARLS:· Correct, Your Honor, because what
 15· ·was reversed, what was essentially summary
 16· ·judgment granted was that the District Court's
 17· ·order implementing that consent decree was
 18· ·without force and power.· And it contrasted that
 19· ·to the Moore vs. Beaufort County case, again, a
 20· ·consent decree, a limited voting method of
 21· ·election not authorized under state law.· The
 22· ·difference there in the Moore County case where
 23· ·the Court enforced the consent decree was that
 24· ·the parties had stipulated that there was a
 25· ·violation of the Voting Rights Act.

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 ·1· · · · THE COURT:· Right, but isn't that a key legal
 ·2· ·difference, though, that where the Fourth Circuit
 ·3· ·has found a violation to then say that
 ·4· ·notwithstanding a constitutional violation, that
 ·5· ·a District -- that a United States District Court
 ·6· ·has no power, other to do this one thing?· That
 ·7· ·just -- it just -- it strikes me as odd.
 ·8· · · · MS. EARLS:· Well, because, Your Honor, in
 ·9· ·this circumstance we have an existing plan that's
 10· ·been put in place pursuant to state law.
 11· · · · THE COURT:· Right, but there's a difference
 12· ·between perhaps it could be a remedy and saying
 13· ·it has to be the remedy as a matter of law.
 14· · · · Like the Dillard case that y'all cited, also,
 15· ·that case is a case where a District Court found
 16· ·a violation, enjoined an electoral scheme in
 17· ·Alabama, created I think a seven-member County
 18· ·Commission instead of four-member County
 19· ·Commission, who had the authority to create seven
 20· ·single-member districts, ultimately reversed
 21· ·itself, dissolved the injunction and then said,
 22· ·"Now that I've dissolved this federal injunction,
 23· ·the law that was in effect becomes enforceable
 24· ·again."· Right?· And so that also doesn't seem to
 25· ·be analogous, and so I wanted to hear what your

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 ·1· ·take on that was.
 ·2· · · · MS. EARLS:· So our position, Your Honor, is
 ·3· ·that if there was something unconstitutional
 ·4· ·about the 2011 plans, and the jurisdiction could
 ·5· ·not remedy the situation, then this Court's
 ·6· ·remedial powers would kick in.· And that's clear
 ·7· ·from the Supreme Court cases.· The Court
 ·8· ·implementing a map is a last resort.
 ·9· · · · Here we have a fully constitutional election
 10· ·scheme for both these bodies, and that's the
 11· ·scheme that you would have to find is
 12· ·unconstitutional in order for there to be a
 13· ·situation where there is no plan in place enacted
 14· ·legally under state law that can be used.
 15· · · · THE COURT:· But isn't it different if in
 16· ·essence those -- it's different if they have been
 17· ·supplanted by legislation, right?· You don't
 18· ·think that that matters?
 19· · · · MS. EARLS:· Well, I think that there a number
 20· ·of cases in the Section 5 context which is very
 21· ·analogous where the Court says --
 22· · · · THE COURT:· But is it really?· I mean, is it
 23· ·that analogous?· Because Section -- under the
 24· ·days of Section 5, until you got free clearance,
 25· ·it wasn't enforceable.

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 ·1· · · · MS. EARLS:· Right.
 ·2· · · · THE COURT:· Right?· And so the other plan was
 ·3· ·always the law and never stopped being the law as
 ·4· ·opposed to a legislature enacting new legislation
 ·5· ·and repealing old legislation.
 ·6· · · · I mean, I understand the argument, but I was
 ·7· ·just trying to understand the proposition, not
 ·8· ·that the Court has the discretion to adopt that
 ·9· ·as a remedy, but the notion that as a matter of
 10· ·law under either Cleveland County or Dillard,
 11· ·those are the two cases that you seem to cite
 12· ·that that's mandated.
 13· · · · MS. EARLS:· And our position, Your Honor, is
 14· ·that this Court's authority to order a remedial
 15· ·plan only kicks in if there isn't an existing
 16· ·plan that's been duly put in place consistent
 17· ·with state law and is constitutional.· In that
 18· ·last resort, then the Court's power kicks in.
 19· · · · But here we have a plan that can be used and
 20· ·has been used.· And the Section 5, there are
 21· ·several Section 5 cases.· Riley vs. Kennedy is
 22· ·one that we did not cite in the supplemental
 23· ·filing, but Riley vs. Kennedy is a US Supreme
 24· ·Court case from 2008, where the jurisdiction had
 25· ·started implementing the change even though it

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 ·1· ·had not been precleared, and the Court said that
 ·2· ·it's not effective because it hadn't -- it was
 ·3· ·not constitutional.
 ·4· · · · But I think --
 ·5· · · · THE COURT:· But it was not precleared.
 ·6· · · · MS. EARLS:· It had not -- it was not -- it
 ·7· ·did not comply with federal law, and federal law
 ·8· ·is superior.· But the general proposition is that
 ·9· ·the Court only --
 10· · · · And then another case that we do cite is
 11· ·McGhee vs. Granville County, which is another
 12· ·example of, there was a violation found, there
 13· ·was no legal and constitutional plan or system to
 14· ·go back to, but in McGhee vs. Granville County, a
 15· ·Fourth Circuit case, the District Court
 16· ·implemented the plaintiff's proposed remedy over
 17· ·what the jurisdiction had proposed because in the
 18· ·Court's view it was a more complete remedy, and
 19· ·the Fourth Circuit said that the Court doesn't
 20· ·have that discretion.· If the jurisdictions put
 21· ·forward a constitutional, legal plan, then unless
 22· ·the Court finds something infirm about that, it's
 23· ·the one that needs to be used.
 24· · · · And so my position is that in these
 25· ·circumstances, where we have a constitutional

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 ·1· ·plan in place for both of these bodies, the Court
 ·2· ·doesn't have, in essence, the option to reject
 ·3· ·those, that it has to go back to the plans that
 ·4· ·have been in place that were passed pursuant to
 ·5· ·state law.· Until the General Assembly acts, or
 ·6· ·in the case of the County Commission, which has
 ·7· ·under state law the authority by referendum to
 ·8· ·change its method of election, the County
 ·9· ·Commission could enact a change.
 10· · · · And that's the significance of the language
 11· ·in the Cleveland County case.· The DC Circuit
 12· ·says North Carolina state law is very specific
 13· ·about how you have to go about changing your
 14· ·method of election.· And if you don't have a
 15· ·violation of the existing system, there's no
 16· ·power or authority of a federal court to come in
 17· ·and order something different.· So that's our
 18· ·position there.
 19· · · · And I think, as I started to say, not only is
 20· ·the Fourth Circuit's opinion in Wright
 21· ·instructive here, because it very clearly
 22· ·suggests that that's what should happen here.
 23· ·But the most recent opinion where the Court
 24· ·concludes its opinion in the slip opinion at page
 25· ·star 45:· "We remand with instructions to enter

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 ·1· ·immediately judgment for plaintiffs granting both
 ·2· ·declaratory relief and a permanent injunction as
 ·3· ·to the one-person-one-vote claims."· The Court
 ·4· ·didn't say, "We remand for consideration
 ·5· ·consistent with this opinion, we remand for
 ·6· ·consideration of whether or not there's time to
 ·7· ·implement a remedy," it clearly said --
 ·8· · · · THE COURT:· But you would also agree that
 ·9· ·nowhere it says, "We remand and instruct that the
 10· ·plans in effect in 2011 we could use."· I mean,
 11· ·had it said that, had it said that in plain
 12· ·language, then y'all wouldn't have to be here.
 13· · · · MS. EARLS:· Well, except, Your Honor, I think
 14· ·they already said it.· I think they said that in
 15· ·2015 in the first opinion in this case where they
 16· ·said the District Court could mandate --
 17· · · · THE COURT:· But they also then
 18· ·cross-referenced the order, the state order under
 19· ·163-22.2, in that passage you read.
 20· · · · MS. EARLS:· Right, to make the administrative
 21· ·changes that are necessary to implement -- to go
 22· ·back to the prior system.· Because to be sure,
 23· ·there are a couple of administrative changes,
 24· ·particularly with regard to the Board of
 25· ·Education.· And I think it is important to

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 ·1· ·consider the two bodies separately because the
 ·2· ·County Commission elections are at a different
 ·3· ·stage and a different status than the Board of
 ·4· ·Education elections.· But there are
 ·5· ·administrative changes that need -- we're not in
 ·6· ·a situation to simply proceed exactly as state
 ·7· ·law currently provides.
 ·8· · · · So let me -- and the final thing I'll say is
 ·9· ·that the Perez vs. Perry case of the US Supreme
 10· ·Court also stands for this proposition.· The
 11· ·Supreme Court in 2012 said:· "Redistricting is
 12· ·'primarily the duty and responsibility of the
 13· ·State.'· The failure of a State's newly enacted
 14· ·plan to gain preclearance prior to an upcoming
 15· ·election does not, by itself, require a court to
 16· ·take up the State legislature's task.· That is
 17· ·because, in most circumstances, the State's last
 18· ·enacted plan simply remains in effect until the
 19· ·new plan receives clearance."
 20· · · · THE COURT:· Right.· I guess that runs into
 21· ·that whole issue of is, is even under what you
 22· ·propose, under the -- when we talk about a last
 23· ·enacted plan and scheme, there were odd-year
 24· ·elections in the School Board.
 25· · · · MS. EARLS:· Right.

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 ·1· · · · THE COURT:· We have nine seats that are going
 ·2· ·to expire.· They're going to be out of office on
 ·3· ·December 5, 2016.· Right?· The nine School Board
 ·4· ·members?
 ·5· · · · MS. EARLS:· Well, under the new statute.· And
 ·6· ·that's where our arguments about staggerability I
 ·7· ·think are also relevant.
 ·8· · · · THE COURT:· But, again, even under your
 ·9· ·theory, you want to nix -- you don't want to
 10· ·really go all the way back and have odd-year
 11· ·elections and, what, have the Court order that
 12· ·the current School Board just stay in place
 13· ·unelected and then be elected in odd years and
 14· ·then...
 15· · · · MS. EARLS:· No, no, Your Honor, what we've
 16· ·said in our papers is that with regard to the
 17· ·School Board elections, the most -- the most
 18· ·efficacious way to return to the prior system is
 19· ·to have the five districts that were elected in
 20· ·2011 elected for three-year terms in 2016.· And
 21· ·then next year in 2017, the four districts that
 22· ·were elected in 2013 will again be up for
 23· ·election as they would have been under the old
 24· ·system.· And then you will have it staggered,
 25· ·you'll have a nine-member board, staggered terms,

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 ·1· ·elected in odd years.
 ·2· · · · THE COURT:· But that would then require this
 ·3· ·Court to order that they be, assuming if they
 ·4· ·want to, to stay in place for another year,
 ·5· ·right, for those four?
 ·6· · · · MS. EARLS:· No.· Well, not if we are in the
 ·7· ·old system.· The only thing that that requires is
 ·8· ·the State Board to administratively say we will
 ·9· ·have -- in essence, we're having a delayed
 10· ·election that should have happened in 2015; we
 11· ·are now having it in November 2016, and that it
 12· ·would be three-year terms instead of a four-year
 13· ·term.· And that's the administrative adjustment
 14· ·that would return us back to the old system for
 15· ·the School Board.
 16· · · · THE COURT:· Okay.· Anything else?
 17· · · · MS. EARLS:· Yes.· I want to just preserve for
 18· ·the record the plaintiffs' position that the
 19· ·legislative defendants have not -- they filed a
 20· ·motion to intervene with the Court of Appeals
 21· ·which hasn't been ruled on.· Plaintiffs filed a
 22· ·motion, or filed a response opposing that motion,
 23· ·and we continue to take the position that it's
 24· ·not appropriate for them to intervene in this
 25· ·matter.· And so we don't want to -- we want to

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 ·1· ·preserve our continuing objection to their
 ·2· ·addressing anything substantively.
 ·3· · · · We did not file anything seeking to strike
 ·4· ·what they filed in response to the order because
 ·5· ·it seemed to us to be us akin to a news brief,
 ·6· ·and that's not inappropriate, but for them to
 ·7· ·participate today as a party, we don't want to be
 ·8· ·in any way waiving our objection to them
 ·9· ·intervening in this case.
 10· · · · The final thing I wanted to say is that the
 11· ·deadlines that currently exist with regard to the
 12· ·election schedule for 2016 can be best met by
 13· ·using the existing districts.· The voters have
 14· ·been assigned to those districts in the past.
 15· ·It's the easiest to implement.· The shapefiles
 16· ·are already at the Board of Elections.
 17· · · · And the, particularly with the County
 18· ·Commission election system, the only thing
 19· ·that -- enjoining the use of the new system
 20· ·simply means that the primaries for the A and B
 21· ·Districts would be void, and the current
 22· ·elections for the County Commission districts
 23· ·where there were primaries would proceed --
 24· · · · THE COURT:· Districts 4, 5 and 6.
 25· · · · MS. EARLS:· Correct.

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 ·1· · · · ·-- would proceed as they are already
 ·2· ·underway.
 ·3· · · · So that's actually, for the County
 ·4· ·Commission, it's actually very little that
 ·5· ·implicates the election schedule.· But for the
 ·6· ·School Board, for those five districts that we
 ·7· ·contend should be elected this year, to get that
 ·8· ·School Board back on the staggered schedule in
 ·9· ·odd years, those district elections can proceed
 10· ·if a filing period is opened in the next day or
 11· ·two.
 12· · · · So not only would I submit to you is, going
 13· ·back to the prior election method, what is
 14· ·required in these circumstances from a pragmatic
 15· ·point of view is also the easiest to implement
 16· ·and the easiest to administer, and the least
 17· ·confusion for voters; they've already been using
 18· ·these districts.· It truly is, for all the
 19· ·parties involved, the best way to proceed in
 20· ·these circumstances.
 21· · · · Thank you.
 22· · · · THE COURT:· Thank you.
 23· · · · MR. BERNIER:· Your Honor, we're here from the
 24· ·State Board.
 25· · · · THE COURT:· Y'all can come up to the table,

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 ·1· ·if you'd like.
 ·2· · · · Again, I thank you for the submission that
 ·3· ·y'all made at Docket Entry 81 in which you
 ·4· ·describe the State Board accurately as an
 ·5· ·independent bipartisan board with its remedial
 ·6· ·authority under 163-22.2, and then as the North
 ·7· ·Carolina Court of Appeals interpreted it in the
 ·8· ·Newsome case.
 ·9· · · · Do you have any preliminary remarks?
 10· · · · MR. BERNIER:· Your Honor, not anything other
 11· ·than I believe Your Honor already knows.
 12· · · · First, I'm general counsel, I'm counsel to
 13· ·the Attorney General's Office.· General counsel
 14· ·for the State Board is also present, along with
 15· ·Executive Director Strach.· They are available to
 16· ·answer any of Your Honor's questions.
 17· · · · And, in fact, as to the details and the
 18· ·timing and the schedule, I would defer to
 19· ·Attorney Lawson, who is present here at counsel
 20· ·table to my left.· But just preliminarily, Your
 21· ·Honor, as we said in our submission, that
 22· ·163-22.2, Your Honor, we believe is more of the
 23· ·administrative organizations of the State Board
 24· ·to adjust the scheduling and timing of the
 25· ·processes involved in the election, more so than

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 ·1· ·the redrawing of district lines.
 ·2· · · · In a prior order Your Honor had asked whether
 ·3· ·the State Board would be willing to redraw
 ·4· ·district lines and was -- the State Board is --
 ·5· ·can't take the position that it is neither
 ·6· ·willing or unwilling, but for practical purposes
 ·7· ·at this point in time we can't just because of
 ·8· ·the lack of the software, the training, the
 ·9· ·staff, everything that's needed to actually pull
 10· ·together the district lines, to redraw district
 11· ·lines.
 12· · · · Your Honor, Attorney Lawson is here to answer
 13· ·any of Your Honor's questions.· The timing, it's
 14· ·my understanding that, as Mr. Marshall said
 15· ·earlier, there is some flexibility as to the
 16· ·deadline of the absentee ballots, which would
 17· ·then impact the deadline for the write-in
 18· ·ballots.· But as to a particular position or a
 19· ·particular remedy, Your Honor, I don't believe
 20· ·the State Board has a particular position on
 21· ·which remedy is a proper one, just that we need
 22· ·it sooner rather than later so we can implement
 23· ·as needed.
 24· · · · THE COURT:· All right.· I'll hear from
 25· ·Mr. Lawson.

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 ·1· · · · Mr. Lawson, is it the State Board's position
 ·2· ·that you do have the authority under 163-22.2 to
 ·3· ·remedy the constitutional defect?
 ·4· · · · Again, if you look at just the two plans at
 ·5· ·issue, which, of course, is the same plans.· You
 ·6· ·have an ideal population in each district of
 ·7· ·128,713 people, and an ideal population in the
 ·8· ·two super districts of 450,497 people, and then
 ·9· ·you have a statute that I think the General
 10· ·Assembly enacted in 1981 that says in the event
 11· ·any state election law or form of election of any
 12· ·County Board of Commissioners or local Board of
 13· ·Education is held unconstitutional by a state or
 14· ·federal court, and such ruling adversely affects
 15· ·the conduct and holding of any pending primary
 16· ·election, the State Board of Elections shall have
 17· ·authority to make reasonable interim rules and
 18· ·regulations with respect to pending primary
 19· ·elections as deemed advisable so long as they do
 20· ·not conflict with any provision of Chapter 163 of
 21· ·the General Statutes.· And such rules and
 22· ·regulations shall become null and void 60 days
 23· ·after convening of the next regular session of
 24· ·the General Assembly.· And then the Court of
 25· ·Appeals interpreted that statute as a remedial

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 ·1· ·statute in the Newsome case.· So do you think you
 ·2· ·have the authority to do it?
 ·3· · · · MR. LAWSON:· So following Director Strach's
 ·4· ·admission to the Court, on the 18th, the State
 ·5· ·Board had a meeting, which we have transcripts of
 ·6· ·if Your Honor would like those submitted, the
 ·7· ·State Board at that time did not take a vote on
 ·8· ·the particular questions, but at a number of
 ·9· ·references there was a general meeting of about
 10· ·four members indicating that they think it's best
 11· ·done and left to the legislative side of our
 12· ·government.
 13· · · · Secondarily, though, there was the
 14· ·distinction drawn between any type of action
 15· ·taken under 22.2 versus action taken on the
 16· ·request of the Court and through the
 17· ·jurisdiction, it's much broader of your bench-
 18· ·crafted appropriate relief and remedy in this
 19· ·case.
 20· · · · So there were kind of two pieces.· One was a
 21· ·historic look at 22.2 and the fact that it had
 22· ·not been used for anything in the scale of
 23· ·redistricting.
 24· · · · Secondarily, when used, there is an
 25· ·expiration date that is automatic and built into

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 ·1· ·the statute such that there was uncertainty in
 ·2· ·the Board's discussion as to whether that was
 ·3· ·appropriately seen as a tool for redistricting.
 ·4· ·Districts, of course, optimally are not temporary
 ·5· ·in nature.
 ·6· · · · So while we did not take a definitive stand
 ·7· ·one way or the other on the permissibility of
 ·8· ·22.2 as a tool, there was a general expression
 ·9· ·from members of the Board that they wished to do
 10· ·whatever the Court believed they should do, and
 11· ·preference expressed by a couple of them that we
 12· ·act within the Court's remedial jurisdiction
 13· ·rather than 22.2.
 14· · · · I would enter, also, Your Honor, that under
 15· ·163-22, sub L, our decisions can be brought into
 16· ·Superior Court in Wake County where they are
 17· ·reviewed on a deferential agency type review.
 18· ·However, final decisions of our agency could
 19· ·transfer jurisdiction if not acting directly
 20· ·under your authority but rather under our general
 21· ·statutory authority.
 22· · · · THE COURT:· All right.· Anything else?
 23· · · · MR. LAWSON:· Your Honor, our objections to
 24· ·logistics.· We have done some further digging,
 25· ·getting some price points with different vendors

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 ·1· ·of software that we know are in use in other
 ·2· ·states.
 ·3· · · · Our GIS specialist is in India until the 22nd
 ·4· ·and will be back to work on the 23rd.· We only
 ·5· ·have one GIS specialist, and he would be our
 ·6· ·point person for any type of software based
 ·7· ·redistricting.
 ·8· · · · THE COURT:· And that's the person in India?
 ·9· ·Is that the one person that you have, and that
 10· ·one person is in India?
 11· · · · MR. LAWSON:· It's the one that we have
 12· ·in-house, sir.
 13· · · · THE COURT:· Oh, okay.
 14· · · · MR. LAWSON:· Yes, sir.· This was a leave
 15· ·approved, a yearly visit to his family, it got
 16· ·approved back in April, but he has been there and
 17· ·is still there.
 18· · · · But we did some pricing around, and it looks
 19· ·as though we would have to go through state
 20· ·procurement at a competitive bidding process
 21· ·because there are alternative vendors out there
 22· ·that substantially would perform the same
 23· ·functions, unless you were to direct the
 24· ·legislative resources coordinate with us or
 25· ·others, but we would have to leave that to you.

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 ·1· ·This process takes upwards of eight weeks even
 ·2· ·when expedited.
 ·3· · · · The reason that we think that that's
 ·4· ·important is because while we don't have
 ·5· ·technical skill in-house at present to be able to
 ·6· ·perform the redistricting, we also have not had
 ·7· ·experience applying traditional redistricting
 ·8· ·principles, especially if you throw into it
 ·9· ·things like communities of interest and political
 10· ·subdivisions, also are requiring that we adhere
 11· ·as closely as possible to permissible legislative
 12· ·intent that you referenced in your order, I
 13· ·believe the July 5th.
 14· · · · MR. BERNIER:· 8th.
 15· · · · MR. LAWSON:· 8th.· Pardon me.
 16· · · · THE COURT:· Okay.· Anything else?
 17· · · · MR. LAWSON:· No, sir.
 18· · · · THE COURT:· Okay.· Thank you.
 19· · · · Mr. Farr, if you would just come up.
 20· · · · Again, I've reviewed all of the submissions,
 21· ·the submissions that y'all made at Docket Entry
 22· ·84.· Would like to make any remarks?
 23· · · · Or Mr. Strach?
 24· · · · MR. FARR:· Thank you very much, Your Honor.
 25· ·I have a few comments; although, I'll try not to

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 ·1· ·repeat what we've filed with the Court.
 ·2· · · · First of all, Your Honor, I want to clarify
 ·3· ·that the legislature was never a party in any of
 ·4· ·these cases.· The legislature and the Legislative
 ·5· ·Leaders were not defendants in the first case,
 ·6· ·which I think was the School Board case.· The
 ·7· ·legislature or the Legislative Leaders were not
 ·8· ·represented in that case.
 ·9· · · · It's my understanding that plaintiffs did
 10· ·make the Legislative Leaders as a defendant in
 11· ·the second case, the Commissioners case, and that
 12· ·the plaintiffs took a voluntary dismissal of the
 13· ·legislators in that case after the Fourth Circuit
 14· ·ruling.· So I just want to make sure that
 15· ·everyone understands that the legislature was
 16· ·never a defendant in either one of these cases.
 17· · · · Next, Your Honor, we strongly do not believe
 18· ·that the State Board of Elections has the
 19· ·authority to do redistricting plans to remedy
 20· ·violations found by courts.· The Court is very
 21· ·well aware of the myriad number of cases that
 22· ·we've had in North Carolina, and that statute has
 23· ·never been interpreted to give the State Board
 24· ·the authority to draw up redistricting plans in a
 25· ·situation like this.· It's interpreted to give

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 ·1· ·the State Board the authority to change election
 ·2· ·schedules.
 ·3· · · · And consistent with that, Your Honor, you've
 ·4· ·heard the State Board attorney just referenced
 ·5· ·the fact that they do not have the software
 ·6· ·that's typically used to draw the plans, they
 ·7· ·don't have anyone on their staff that's ever
 ·8· ·drawn plans.· The one person who might be able to
 ·9· ·learn how to draw plans, I think I heard him say
 10· ·that he is out of the country until August 22nd.
 11· ·So if something is going to happen this year, the
 12· ·plans are not going to be drawn by the State
 13· ·Board of Elections, nor should they be drawn by
 14· ·the State Board of Elections.
 15· · · · Your Honor, I don't want to belabor the
 16· ·point, but we have made our statement that we do
 17· ·not think it's proper to go back to the 2013
 18· ·plans because they do not represent the most
 19· ·recent policy decisions made by the legislature.
 20· · · · The Legislative Leaders do have an
 21· ·illustrative plan available, Your Honor, which we
 22· ·could file with the Court tomorrow, if the Court
 23· ·would like to see an illustrative plan.· We think
 24· ·that plan remedies the constitutional problems
 25· ·found by the Fourth Circuit, and we'll be happy

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 ·1· ·to provide that to you, and all of the
 ·2· ·information that goes along with that.
 ·3· · · · As far as election schedule, Your Honor, we
 ·4· ·basically think that given where we are, it's
 ·5· ·going to be very, very difficult to have
 ·6· ·elections under a different plan in time for the
 ·7· ·November general election.· We do defer to the
 ·8· ·State Board of Elections as having superior
 ·9· ·expertise on all the nuances that go into
 10· ·scheduling an election, Your Honor.
 11· · · · But one thing we want to be very strong
 12· ·about, Your Honor, is that we do not think there
 13· ·should be a new election schedule that reduces
 14· ·the amount of time for voters in Wake County to
 15· ·cast absentee ballots.· We had a discussion or we
 16· ·heard a discussion about that today from some of
 17· ·the counsel.· For example, we don't think that
 18· ·it's fair to the voters of Wake County in a
 19· ·presidential year for them to have some of the
 20· ·time for absentee voting cut back 45 days when
 21· ·everyone else in the state is permitted 60 days
 22· ·to do absentee voting.· So we would be strongly
 23· ·opposed to any election schedule that would do
 24· ·that.
 25· · · · THE COURT:· What do you have to say about

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 ·1· ·Footnote 13 of the Fourth Circuit's opinion just
 ·2· ·in terms of this whole issue of debriefing on the
 ·3· ·mandate rule and whether the circuit has mandated
 ·4· ·the injunction?
 ·5· · · · MR. FARR:· Well, Your Honor, I think -- I
 ·6· ·wasn't there at the oral argument, but it does
 ·7· ·not seem as though anybody briefed or argued the
 ·8· ·position about what the appropriate remedy would
 ·9· ·be at this point in time in the election cycle.
 10· · · · The footnote I think says that the Fourth
 11· ·Circuit sees no reason why elections should go
 12· ·forward under the plans they found
 13· ·unconstitutional, but this didn't really consider
 14· ·what those reasons may or may not be.
 15· · · · And I think in one of your orders, Your
 16· ·Honor, you cited a couple of cases where the
 17· ·Supreme Court has held that on issues like this,
 18· ·it's appropriate for the District Court to be the
 19· ·entity that analyzes what the facts and
 20· ·circumstances are at this point in time in the
 21· ·election cycle and then make a decision based
 22· ·upon your exercise and your discretion on what
 23· ·was appropriate given where we are today.
 24· · · · So I do not think you've been -- I don't
 25· ·think the elections under the plans have been

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 ·1· ·declared illegal and have been ruled out.
 ·2· ·Depending on what the circumstances are, if the
 ·3· ·Court and the State Board of Elections thinks
 ·4· ·that we can still get a new plan in time within
 ·5· ·the filing period and have an appropriate amount
 ·6· ·of time for absentee voting, we do have an
 ·7· ·illustrative plan that we could give the Court
 ·8· ·tomorrow.
 ·9· · · · THE COURT:· And you just -- so the mandate
 10· ·rule cases that the plaintiffs cite, you just
 11· ·don't think that the footnote encompasses a
 12· ·mandate to issue that injunction?· Obviously,
 13· ·that's got to be logically your position, right?
 14· · · · MR. FARR:· No, sir, Your Honor, I think if
 15· ·they, if that's what they intended, they would
 16· ·have been more specific about what you could or
 17· ·could not do.· They all said that based upon the
 18· ·record that was in front of them, they saw no
 19· ·reasons why elections should go forward under the
 20· ·plans ruled unconstitutional, but no one
 21· ·explained what the circumstances were.
 22· · · · We're at a very, very late time in the
 23· ·election cycle, and I know the Court is very well
 24· ·aware of, for example, the Shaw case where we
 25· ·have a finding by a US Supreme Court that

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 ·1· ·Congressional District 12 is illegal.· But the
 ·2· ·mandate came out even earlier, I think, than what
 ·3· ·we're seeing here, and a three-judge court and
 ·4· ·this court ruled that it was too late to change
 ·5· ·things at the end of the July for 1996 election
 ·6· ·cycle.
 ·7· · · · So I think you have a very hard job, Your
 ·8· ·Honor, and I think it's one where you have to
 ·9· ·exercise your discretion in a way that would
 10· ·protect the voting rights of all of those of Wake
 11· ·County.· And if you conclude that there needs to
 12· ·be an election, and if there's enough time, we
 13· ·will have an illustrative plan available for you
 14· ·to review tomorrow should you ask to receive it.
 15· · · · THE COURT:· Well, certainly, assuming the
 16· ·mandate issues, and I have jurisdiction, you can
 17· ·file it.· I'll try to get information so that
 18· ·when I finally have jurisdiction I can exercise
 19· ·my discretion.
 20· · · · Anything else?
 21· · · · MR. FARR:· May we file that tomorrow, Your
 22· ·Honor?
 23· · · · THE COURT:· You may.· You may.
 24· · · · MR. FARR:· Unless you have further questions,
 25· ·Your Honor, we have nothing else.

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 ·1· · · · THE COURT:· All right.
 ·2· · · · MS. EARLS:· Your Honor, I just have to note
 ·3· ·for the record, we do object to illustrative maps
 ·4· ·being filed by entities that aren't parties and
 ·5· ·with the Legislative Leaders not able to speak
 ·6· ·for the legislature.· They are just individual
 ·7· ·legislators.· There may be other legislators who
 ·8· ·have illustrative maps.· In fact, there were
 ·9· ·illustrative maps in the record that were
 10· ·presented to the legislature.· And to have a
 11· ·process whereby in 24 hours two legislative
 12· ·leaders who have been invited by the Court to
 13· ·submit something, we will object to that as not a
 14· ·fair process, Your Honor.
 15· · · · THE COURT:· That's fine.
 16· · · · MS. EARLS:· And I also want to, if I may,
 17· ·respond to the comments that were made regarding
 18· ·the mandate.· As you know, our position is that
 19· ·the mandate is clear.
 20· · · · Counsel's reference to the Shaw case is not
 21· ·applicable for at least two reasons.· First of
 22· ·all, that was a congressional district which
 23· ·encompasses numerous counties.· The prospect of
 24· ·what it takes to change district lines across
 25· ·several counties in a congressional district is

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 ·1· ·very different from what it takes
 ·2· ·administratively to put in place a plan for the
 ·3· ·Wake County Board of Education.· So that's all
 ·4· ·we're talking about here is the Board of
 ·5· ·Education.
 ·6· · · · Secondly, the fact that in that case there
 ·7· ·was no constitutional plan passed pursuant to
 ·8· ·state law and fully compliant with federal law
 ·9· ·available to be used in those circumstances, in
 10· ·the Shaw case, where as here there is.
 11· · · · So those are two very important reasons why
 12· ·the fact that -- and it was actually the very end
 13· ·of July of that year the federal court said that
 14· ·there was not time to make a change with regard
 15· ·to a congressional district.· That does not apply
 16· ·to the circumstances you face here today with
 17· ·regard to the Wake County Board of County
 18· ·Commissioners and the School Board.
 19· · · · THE COURT:· Tell me again your proposal about
 20· ·how long -- who gets elected to the School Board
 21· ·under your proposal in November?· The Wake County
 22· ·voters only get to vote for five instead of all
 23· ·nine, even though by statute all nine are
 24· ·supposed to be out of office on December 5th?
 25· · · · MS. EARLS:· Well, Your Honor, again, you keep

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 ·1· ·saying by statute.· That statute is
 ·2· ·unconstitutional.
 ·3· · · · THE COURT:· The redistricting --
 ·4· · · · MS. EARLS:· There is no severability clause
 ·5· ·in that statute, Your Honor.· The entire statute
 ·6· ·is unconstitutional.
 ·7· · · · THE COURT:· That goes back to the whole issue
 ·8· ·of remedial discretion, right?· And in terms of
 ·9· ·all of those cases that you're familiar with,
 10· ·that we're all familiar with is, is the
 11· ·declaration a declaration the entire statutory
 12· ·scheme, or is it a declaration of the one-person-
 13· ·one-vote violation of the difference in
 14· ·populations?
 15· · · · MS. EARLS:· And we laid out the applicable
 16· ·law, which I would say was, and was reaffirmed by
 17· ·the Fourth Circuit's analysis in the NAACP case
 18· ·that they just decided.· That is to say,
 19· ·severability is determined by reference to state
 20· ·law firm.· Under North Carolina law, you look not
 21· ·only to whether or not there's a severability
 22· ·clause but also to whether or not the provision
 23· ·that's being challenged can be and was intended
 24· ·to be implemented on its own.
 25· · · · Here we have for better or worse, an election

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 ·1· ·scheme.· It changed the date of the election, it
 ·2· ·changed the size of the Board in one instance, it
 ·3· ·changed the districts.· You can't take the
 ·4· ·districts out of that and implement the rest of
 ·5· ·the statute.· That's our contention.
 ·6· · · · THE COURT:· But my question, again, is:· If
 ·7· ·you were going back in time, then isn't the
 ·8· ·theory of the plaintiffs that all these elections
 ·9· ·to the School Board should be in odd years?
 10· · · · MS. EARLS:· Correct, Your Honor, but you
 11· ·have -- you have --
 12· · · · THE COURT:· Well, that's what I'm trying to
 13· ·understand.· Why is that -- why is that policy
 14· ·preference that's in Session Law 2013-110
 15· ·implemented in a remedy when the theory seems to
 16· ·be that we're going back in time to what was the
 17· ·scheme in 2011, which was odd-year elections.
 18· · · · MS. EARLS:· Your Honor, what we are saying is
 19· ·that because the districts are not severable from
 20· ·the rest of the statute, the statute is
 21· ·unconstitutional, it's a violation of my clients'
 22· ·rights to try to implement that statute, so you
 23· ·go back to the last system that was in place.
 24· · · · THE COURT:· And that's my question.· If we go
 25· ·back to that system, then, logically, and that's

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 ·1· ·what I'm trying to understand, you must think
 ·2· ·that I have some discretion, because, logically,
 ·3· ·under your position, the people of Wake County
 ·4· ·don't get to vote for anyone on the School Board
 ·5· ·this year because historically we've always only
 ·6· ·voted in odd years, and this isn't an odd year.
 ·7· ·And so we just basically tell all the -- and we
 ·8· ·have -- we have a population in Wake County
 ·9· ·that's larger than the population of six states,
 10· ·and telling the people of Wake County that they
 11· ·don't get to vote for all nine School Board
 12· ·members, I'm really trying to understand why that
 13· ·is.
 14· · · · MS. EARLS:· Your Honor, in 2011, five members
 15· ·of the School Board were elected.· They've
 16· ·actually had five-year terms now.
 17· · · · THE COURT:· Right, by virtue of that statute.
 18· · · · MS. EARLS:· Correct.· So our position is that
 19· ·the most logical way to return to odd-year
 20· ·elections is to, for those people who have
 21· ·already been in office for five years, is to --
 22· ·in essence, there is now a delayed election.· It
 23· ·should have been in 2015 under the old system;
 24· ·it's now 2016.
 25· · · · And I think that the remedy in the case that

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 ·1· ·you cited, Newsome vs. North Carolina State Board
 ·2· ·of Elections, back in 1992, where the State Board
 ·3· ·had to make administrative rules for the timing
 ·4· ·of an election applied here.
 ·5· · · · So, in essence, what the State Board is faced
 ·6· ·with is for reasons having to do with the
 ·7· ·litigation schedule and when these laws were
 ·8· ·found unconstitutional, an election that should
 ·9· ·have happened in 2015 did not happen.· So when
 10· ·should that election happen?· At the next
 11· ·available election date, and that's 2016.
 12· · · · There are four members of the School Board
 13· ·who were elected in 2013.· Typically, under the
 14· ·old scheme, you have four-year terms.· Those four
 15· ·board members can be elected in 2017.· So we're
 16· ·not --
 17· · · · THE COURT:· But when they were elected, did
 18· ·those people know that they were being elected
 19· ·for three-year terms?
 20· · · · MS. EARLS:· When the School Board elections
 21· ·happened in 2013, I believe that was before this
 22· ·statute was passed; or at least initially, the
 23· ·election process started.
 24· · · · But the bottom line is, getting back to the
 25· ·prior system of staggered terms elected in odd

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 ·1· ·years, those members elected in 2014 or 2013
 ·2· ·would have four-year terms and be reelected or
 ·3· ·those seats would be up for election again in
 ·4· ·2017.
 ·5· · · · THE COURT:· And you're saying that you think
 ·6· ·that I should use my -- or do you think I have
 ·7· ·the authority to do that?
 ·8· · · · MS. EARLS:· Your Honor, we've said, again,
 ·9· ·and I'm sorry, our position, Your Honor, is that
 10· ·your authority is to enjoin the existing statute.
 11· ·Then the State Board of Elections' authority kicks
 12· ·in to make the administrative changes.· Not to
 13· ·draw new maps; to make the administrative changes
 14· ·regarding --
 15· · · · THE COURT:· Well, that's what I'm talking
 16· ·about, the administrative change of extending a
 17· ·person in office for a year.
 18· · · · MS. EARLS:· But that's already happened.
 19· ·They're not extending anyone's term, Your Honor.
 20· · · · THE COURT:· I thought you just said that what
 21· ·you wanted to have happen was to have the people
 22· ·who were elected in 2011, when they were elected,
 23· ·they were elected to a four-year term.· As I
 24· ·understand it, and correct me if I'm wrong, as I
 25· ·understand it, they were elected to a four-year

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 ·1· ·term, and Session Law 2013-110 extended their
 ·2· ·office for a year.· I don't think any of them
 ·3· ·did, but whatever.· The legislature said, "You're
 ·4· ·now going to be in office until December 5, 2016.
 ·5· ·That's when your office ends."· And then the
 ·6· ·people in 2013 who got elected got elected, and
 ·7· ·you said you don't think that they knew they were
 ·8· ·being elected to a three-year term.
 ·9· · · · MS. EARLS:· But in any case, Your Honor,
 10· ·we're not suggesting that the State Board of
 11· ·Elections would be extending any terms; to the
 12· ·contrary.· We're saying they can use their
 13· ·administrative authority to schedule the timing
 14· ·of elections and to have those five seats up for
 15· ·election in 2016, the five seats, the five people
 16· ·who were elected in 2011.· That is an
 17· ·administrative change.· The State Board of
 18· ·Elections would not be extending anyone's terms
 19· ·in that regard.
 20· · · · THE COURT:· What about the four people who
 21· ·were elected in 2013?
 22· · · · MS. EARLS:· Under the prior system the
 23· ·customary term was four years.· So that is not a
 24· ·change for them to then be elected in 2017.
 25· · · · THE COURT:· Let me hear what the State Board

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 ·1· ·has to say about that.· If you have a position on
 ·2· ·it.· Or if you want to reflect on it, you can
 ·3· ·also tell me that.
 ·4· · · · MR. LAWSON:· Your Honor, we have not voted on
 ·5· ·the severability position.· We would note,
 ·6· ·though, that if the Court was to direct us to use
 ·7· ·that administrative authority, first, of course,
 ·8· ·that it still could make its way into Wake County
 ·9· ·Superior Court effectively transferring
 10· ·jurisdiction.
 11· · · · Secondly, in Session Law 2013-110, section 2,
 12· ·there's a specification about a primary versus a
 13· ·runoff election system.· Those types of
 14· ·determinations certainly are not of the type that
 15· ·we would be happy to make.· Ordinarily, under
 16· ·22.2, the pieces of the statute that we like to
 17· ·enforce are not enforced.· So our one request,
 18· ·the one request that was mentioned by our Board
 19· ·at its meeting was that the directive or the
 20· ·order or request, depending on how you frame it,
 21· ·to us be very specific.
 22· · · · THE COURT:· And so you want -- the State
 23· ·Board wants the Court to, what, to address that
 24· ·issue and to say whether the Wake County voters
 25· ·get to vote for nine members of the School Board

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 ·1· ·this November or not?· Or not?· Or do y'all want
 ·2· ·to make that decision?
 ·3· · · · MR. LAWSON:· It would certainly be
 ·4· ·unprecedented for us to use 22.2 to try and
 ·5· ·extend the terms or otherwise to decide the
 ·6· ·severability of pieces of the plan enacted in
 ·7· ·2012 versus the one after.
 ·8· · · · If we were called upon to do that, our board
 ·9· ·has decided that it will try as best it can to
 10· ·comply but recognizes the necessity of also
 11· ·implementing permissive legislative intent.· It
 12· ·is not ordinarily a place that we like to be to
 13· ·the outcome determinative to that extent.
 14· · · · THE COURT:· And Ms. Earls, you're just not
 15· ·sure one way or the other whether the people who
 16· ·got elected in 2013 knew they were being elected
 17· ·to a three-year term or not?· You just don't
 18· ·know?· And you can -- you can supplement
 19· ·tomorrow.· I know you're a very careful and
 20· ·thoughtful lawyer and you don't want to guess.
 21· ·You just aren't sure?
 22· · · · MS. EARLS:· Your Honor, I'm not entirely
 23· ·certain of the dates of the election and the date
 24· ·of the passage of the statute.· It may be that
 25· ·there's a difference in terms of the filing

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 ·1· ·periods.· So they have may have filed at a time
 ·2· ·when it was a four-year term.· I just -- I would
 ·3· ·really prefer to be able to be clear about the
 ·4· ·dates and the passage of the dates of the
 ·5· ·election.
 ·6· · · · THE COURT:· Because, at least, again, the
 ·7· ·trial exhibit was Exhibit 438, which was the
 ·8· ·Session Law, and it said that it was "read and
 ·9· ·ratified this, the 13th day of June, 2013," which
 10· ·would at least suggest that if the elections to
 11· ·the School Board were in October of 2013, then
 12· ·the people who ran knew they were getting elected
 13· ·to three years.· But y'all can check that.
 14· ·That's at least what -- that's -- and, again,
 15· ·that was a joint exhibit that y'all had submitted
 16· ·at the trial, which was just a copy of that
 17· ·legislation.· Which, again -- but you seem to
 18· ·suggest -- it sure seems like more than an
 19· ·administrative thing of the State Board of
 20· ·Elections when you're talking about saying some
 21· ·School Board member who signed up, if they did,
 22· ·for a three-year term, and then all of a sudden
 23· ·saying that the State Board is using its
 24· ·authority to extend them for a year.
 25· · · · MS. EARLS:· Well, if it's helpful to the

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 ·1· ·Court, Your Honor, I recall the testimony of the
 ·2· ·School Board members who said how disruptive it
 ·3· ·is to have all nine School Board members up for
 ·4· ·election at the same time, and that at least from
 ·5· ·the perspective of the School Board, they prefer
 ·6· ·staggered terms because of issues of continuity
 ·7· ·of policy and otherwise.· So I do recall that
 ·8· ·testimony in the record.
 ·9· · · · THE COURT:· Right.· But there was also a lot
 10· ·of testimony about the general concerns of the
 11· ·voters of Wake County.· So with all due respect
 12· ·to all nine School Board members who all give
 13· ·their very best every day in that capacity, but
 14· ·that's also another issue for the state, in terms
 15· ·of thinking about the voters' interests of having
 16· ·a chance to vote.
 17· · · · Anything else from the plaintiffs?· And y'all
 18· ·can, y'all can check, if you would like to make
 19· ·that, check that and make a submission.
 20· · · · Again, I appreciate y'all's responses and
 21· ·coming here.· As I said at the outset, because of
 22· ·the mandate rule and because the Fourth Circuit
 23· ·did not issue its mandate forthwith on July 1st,
 24· ·this Court did not have jurisdiction and still
 25· ·doesn't until presumably tomorrow when the

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 ·1· ·mandate issues.· But also I realize that the
 ·2· ·election is coming up quickly.
 ·3· · · · So anything else from the plaintiffs?
 ·4· · · · MS. EARLS:· No.· Thank you, Your Honor.
 ·5· · · · THE COURT:· Thank you.
 ·6· · · · Anything else from the County Board?
 ·7· · · · MR. MARSHALL:· Very briefly, Your Honor.
 ·8· · · · Not only do I think it's improper for you to
 ·9· ·consider the remedy and enter a remedy, I want to
 10· ·thank you for holding this hearing today because
 11· ·I think my client is going to be in a very tough
 12· ·predicament in light of Footnote 13 and the Court
 13· ·of Appeals opinion.· What I was concerned about
 14· ·was without further guidance from the District
 15· ·Court in terms of a remedy, we would be in a
 16· ·position of having to potentially try to make a
 17· ·judgment call about what to do in November, which
 18· ·could very well set the board up for additional
 19· ·litigation from Ms. Earls, potentially from
 20· ·Mr. Farr, in terms of what the appropriate
 21· ·remedy would be based on Footnote 13, Your Honor.
 22· · · · THE COURT:· What do you think Footnote 13
 23· ·means?· Now that you're standing up and we're
 24· ·talking about it.· If you care to --
 25· · · · MR. MARSHALL:· Well, no, I don't have --

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 ·1· ·Footnote 13, I think it means what it says.· And
 ·2· ·I think that Mr. Farr is correct in that I didn't
 ·3· ·argue remedies before you during the trial, I
 ·4· ·didn't argue it in the Fourth Circuit, the
 ·5· ·plaintiffs didn't argue remedy; it's true that
 ·6· ·that issue never came up.· So the Fourth Circuit
 ·7· ·certainly did not have anything in the record to
 ·8· ·address the remedy.· And I think what Footnote 13
 ·9· ·says is, I think I have to read it for what it
 10· ·says, we do not think that -- and I don't have it
 11· ·in front of me.
 12· · · · Tom, do you mind handing it to me, please?
 13· ·It's right there.
 14· · · · We see no reason why the November '16
 15· ·election should proceed under the
 16· ·unconstitutional plans we spoke about today.· It
 17· ·doesn't answer the fundamental question we're
 18· ·here today, which is:· So what do we do in
 19· ·November?· Do we have no election in November?
 20· ·Do we have elections on the districts that have
 21· ·been struck down within the District Court's
 22· ·discretion based on factors you may or may not
 23· ·find?· Do we have districts that are drawn by the
 24· ·Court or the State Board if they felt like they
 25· ·had the authority?

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 ·1· · · · You've heard me say over and over, my client
 ·2· ·has no position on what the District should or
 ·3· ·shouldn't be.· They didn't have that before the
 ·4· ·litigation, they don't have it after the
 ·5· ·litigation, but they certainly are in dire need
 ·6· ·of guidance about what they need to do,
 ·7· ·especially the staff and employees, between today
 ·8· ·and November 8th, because the last thing they
 ·9· ·want to do is start coding a map that's going to
 10· ·be challenged by another party, and then we're
 11· ·all back in court again, except now it's
 12· ·September or October, and then they have to
 13· ·un code the map.
 14· · · · THE COURT:· So at this point no one at the
 15· ·State Board, I mean the Wake County Board, has
 16· ·coded a map?
 17· · · · MR. MARSHALL:· They have coded the map for
 18· ·the districts that were struck down by the Fourth
 19· ·Circuit.
 20· · · · THE COURT:· That work was going on like in
 21· ·June or something?
 22· · · · MR. MARSHALL:· Right, because if you
 23· ·remember, Your Honor, they had to open and close
 24· ·the filing period in June, which they did.
 25· · · · THE COURT:· Right, for the Board of

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 ·1· ·Education.
 ·2· · · · MR. MARSHALL:· Right.· So those maps were
 ·3· ·previously coded.· And, obviously, they've
 ·4· ·historically coded the previous maps as well.
 ·5· ·But at some point they've got to make a decision
 ·6· ·moving forward for November 8th about what is and
 ·7· ·isn't possible.· And the last thing I wanted to
 ·8· ·have happen was for us to be in September and
 ·9· ·October and have other parties arguing to us
 10· ·about what the Wake County Board of Elections
 11· ·should or shouldn't be doing with respect to
 12· ·districts and maps absent any further guidance
 13· ·from the Court.
 14· · · · So, again, I just want to thank you for
 15· ·calling all the potentially interested parties
 16· ·together to try to get a head start on the
 17· ·remedial phase.
 18· · · · And then finally, one other point I didn't
 19· ·make earlier, but we did set it out in our
 20· ·submission.· And because the question of
 21· ·deadlines has come up, the ability to hold a
 22· ·primary for the County Commissioner Districts A
 23· ·and B that had been struck down, if new districts
 24· ·were drawn for A and B, holding a primary in
 25· ·advance of holding a general election on the

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 ·1· ·current calendar, we used the word "infeasible"
 ·2· ·in our submission, and that is certainly true as
 ·3· ·for the deadlines as they're in place.· And I'm
 ·4· ·not sure, and I don't want to speak for Mr. Sims,
 ·5· ·but it may not be feasible at all.
 ·6· · · · THE COURT:· Not possible.
 ·7· · · · MR. MARSHALL:· Correct.
 ·8· · · · THE COURT:· That's at least how I read it.
 ·9· · · · MR. MARSHALL:· Right.
 10· · · · THE COURT:· I do think y'all used the word
 11· ·"feasible," but looking at all the dates in
 12· ·Mr. Sims' submission, which was very detailed,
 13· ·and I appreciate it, it didn't seem possible to
 14· ·do that.
 15· · · · MR. MARSHALL:· Right, because of all that
 16· ·goes into a primary, which is -- it's a election.
 17· ·And everything that goes into holding an election
 18· ·would have to occur.· It's not just a filing
 19· ·period.· So much of what we've discussed today
 20· ·has been about the November 8th election and what
 21· ·needs to be done before then, and I just wanted
 22· ·to point out that we had in our submission
 23· ·highlighted the real problem of a primary on top
 24· ·of that.
 25· · · · Other than that, Your Honor, we do not -- we

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 ·1· ·don't take any position, as we mentioned, on the
 ·2· ·propriety of any particular remedy but wanted to
 ·3· ·make sure the Court had everything that you
 ·4· ·needed in terms of operational issues.
 ·5· · · · THE COURT:· Okay.· Mr. Lawson, final
 ·6· ·thoughts?
 ·7· · · · MR. LAWSON:· Just one point only.· I'm
 ·8· ·informed by my predecessor who had been general
 ·9· ·counsel for 15 years that in the days of
 10· ·preclearance, if Your Honor was to indicate that
 11· ·we should be moving back absentee voting or to
 12· ·allow for more time, the Justice Department had
 13· ·indicated a preference in 2004 that absentee
 14· ·ballots for everything else that had a federal
 15· ·contest on it go out and then separately send out
 16· ·any type of straggler absentee ballots.· So we
 17· ·would have to contemplate a two-step absentee
 18· ·process with the School Board or school
 19· ·commissioner, whatever that ends up being, being
 20· ·counted manually when they're brought back to the
 21· ·Board of Elections because of the voting systems.
 22· · · · THE COURT:· Under either scenario, you see
 23· ·that happening?
 24· · · · MR. LAWSON:· If we were asked to by Your
 25· ·Honor to push the absentee ballot deadline such

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 ·1· ·that we could allow for Wake to code more, I
 ·2· ·wanted to note.
 ·3· · · · Thank you.
 ·4· · · · THE COURT:· Thank you.
 ·5· · · · Mr. Farr, anything else?
 ·6· · · · MR. FARR:· Just to thank you, Your Honor, for
 ·7· ·inviting us, but also I can't help but comment
 ·8· ·about what Mr. Lawson just said.· I cannot
 ·9· ·imagine a more confusing election process for
 10· ·people voting absentee if they got two different
 11· ·absentee ballots.· We think that with all due
 12· ·respect to the Justice Department and their
 13· ·position under Section 5, I think that would be a
 14· ·disaster.
 15· · · · And, again, Your Honor, thank you for
 16· ·inviting us to participate today.
 17· · · · THE COURT:· I thank counsel for their work
 18· ·here today.
 19· · · · We will be in recess until tomorrow.
 20· · · · THE BAILIFF:· All rise.· This court now
 21· ·stands in recess.
 22· · · · (Hearing concluded at 5:10 p.m.)
 23
 24
 25

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 ·1· · · · · · · · · · COURT CERTIFICATE

 ·2

 ·3· NORTH CAROLINA· )

 ·4· WAKE COUNTY· · ·)

 ·5

 ·6· · · · · ·I, DENISE Y. MEEK, Court Reporter, certify

 ·7· that I was authorized to and did report the foregoing

 ·8· proceedings, and that the transcript is a true and

 ·9· complete record of my stenographic notes.

 10· · · · · ·Dated this 3rd day of August 2016.

 11

 12· · · · · · · · · · · · _____________________________
 · · · · · · · · · · · · · DENISE Y. MEEK, FPR
 13· · · · · · · · · · · · Court Reporter

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